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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                Crirn. No. 2:11-cr-000815-CCC
            v.

. Jose Lopez-Rodriguez                  ORDER ·ro:a CONTINUANCE



            This matter havingcome before the Court on the joint
application of Paul w. Laymon, Trial Attorney, Narcotic and
Dangerous Drug Section, Department of Justice, and defendant Jose
Lopez-Rodriguez, by Kevin Carlucci, Esq., AFl?D, for an order
granting a continuance of the proceedings in the above-captioned
matter for a period of 60 days to allow the parties to conduct
plea negotiations and attempt to finalize a plea agreement, so
that the parties may attempt to resolve the matter and thereby
avoid   a possible trial, and the defendant having consented to the
continuance and waived his right to a speedy trial, and for good
cause shown,
            IT IS THE FINDING OF THIS COURT that this action should
be continued for the following reasons:
            (1) the parties desire additional time to negotiate a
plea agreement, which if successful would rerider a trial in this
matter unnecessary;

            (2) defendant's co-defendant is in custody in
California awaiting disposition of his identity hearing and
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transportation to the District of New Jersey, and pursuant to
Title 18, United States Code, Section 3161(h} (6), a reasonable
period ot delay is permitted when the defendant is joined for
trial with a co-defendant as to whom the time for trial has not
run and no motion for severance has been granted; and,
           (3) Pursuant to Title 18,. United States Code, Section
316l(h) (7), the ends of justice served by granting the
continuance outweigh the best interests of the public and the
defendant in a·speedy trial,
                                             .lfj,._
          IT IS, therefore, on this        ;;y day of January, 2012,
          ORDERED that this action be and hereby is continued for
a period of 60 days from the date of this Order; and it is

further
          ORDERED that the period of 60 days from the date of
this Order shall be excluded in computing time under the Speedy
Trial Act of 1974.
                                                C.
                                     HON. Claire M. Cecchi
                                     United States District Court Judge



Paul W.                   Attorney


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